               Exhibit BBB




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Report of Jacob M. Grumbach


                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                       Case No. 1:23-cv-00878-TDS-JEP

DEMOCRACY NORTH CAROLINA;
NORTH CAROLINA BLACK ALLIANCE;
LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA,

Plaintiffs,

vs.

ALAN HIRSCH, in his official capacity as
CHAIR OF THE STATE BOARD OF
ELECTIONS; JEFF CARMON III, in his
official capacity as SECRETARY OF THE
STATE BOARD OF ELECTIONS; STACY
EGGERS IV, in his official capacity as
MEMBER OF THE STATE BOARD OF
ELECTIONS; KEVIN LEWIS, in his official
capacity as MEMBER OF THE STATE
BOARD OF ELECTIONS; SIOBHAN
O’DUFFY MILLEN, in her official capacity
as MEMBER OF THE STATE BOARD OF
ELECTIONS; KAREN BRINSON BELL, in
her official capacity as EXECUTIVE
DIRECTOR OF THE STATE BOARD OF
ELECTIONS; NORTH CAROLINA STATE
BOARD OF ELECTIONS,

Defendants.


               EXPERT REPORT OF DR. JACOB M. GRUMBACH

                                March 5, 2025




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I.       Executive Summary

       1.     I am currently an Associate Professor at the Goldman School of Public
Policy at the University of California, Berkeley. I was retained by Plaintiffs in this action
to analyze whether North Carolina Senate Bill 747’s (hereafter “SB 747”) changes to
same day voter registration impact the ballot access afforded to younger Americans. I
also provide context around youth voting, including generational political polarization
and recent trends related to restrictions on youth voting in light of this polarization.

       2.     In formulating this analysis, I draw upon original analysis and social
science and legal literature related to young people in American democracy, election
policy and administration, and, specifically, same day voter registration. These are
standard methods in political science and related social science disciplines.

         3.    Overall, it is my expert opinion that:

               a. Generational polarization in political values and attitudes is substantial
                  and increasing in recent years.

               b. Younger Americans are underrepresented in elected office, and their
                  preferences are underrepresented in public policy outcomes. Some of
                  this underrepresentation stems from electoral policies and
                  administration.

               c. Due to generational polarization in political values and attitudes, state
                  governments have pursued legislation that seeks to reduce the voter
                  turnout of younger Americans.

               d. SB 747’s enactment is consistent with the broader trend of legislation
                  that seeks to reduce the voter turnout of younger Americans.

               e. Young people are disproportionately likely to face barriers to voting
                  related to residential mobility, including issues related to physical mail.

               f. Expansions of same day voter registration increase the turnout of
                  younger Americans, and restrictions on same day voter registration
                  reduce the turnout of younger Americans. Compared to the other 20
                  states with same day registration, North Carolina’s same day
                  registration system is already restrictive because it does not allow for
                  same day registration on Election Day.

               g. SB 747 would make North Carolina’s same day registration system
                  more restrictive, especially for younger North Carolinians, by adding a
                  new postal verification requirement for retrievable ballots.


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              h. Because voting behavior is habitual, making it more difficult for young
                 people to vote is especially impactful over long stretches of time.

       4.      Taken together, I conclude that SB 747 makes it more challenging for
younger Americans to participate in the electoral process. As discovery is ongoing, I
reserve the right to add to or otherwise modify this report based on information that may
come to light.

       5.      My full analysis is included below, including my qualifications and
methodology (Section II), analysis of political attitudes across generational cohorts
(Section III), analysis showing that younger Americans are underrepresented in politics
(Section IV), analysis of motivations for and attempts to reduce younger Americans’
voter turnout (Section V), analysis of the relationships between age, residential mobility,
and voting (Section VI), analysis of how same day registration policies impact youth
turnout (Section VII) and analysis of age and voting habit formation (Section VIII).

II.    Qualifications and Methodology

       6.     I am Associate Professor of Public Policy at the University of California,
Berkeley. Prior to this appointment, I was an Associate Professor of Political Science at
the University of Washington and a Postdoctoral Fellow at the Center for the Study of
Democratic Politics at Princeton University. I received my PhD in Political Science in
2018 from the University of California, Berkeley.

       7.      I teach graduate-level courses in statistical methods for graduate students in
public policy at UC Berkeley, as well as courses on state and local politics and policy,
labor policy, and U.S. democracy.

        8.     I regularly conduct peer reviews for academic journals in the areas of
political science, public policy, and political economy.

       9.      My research uses statistical methods in the areas of politics and public
policy. My research has appeared in top political science journals, including American
Political Science Review, American Journal of Political Science, Election Law Journal,
Electoral Studies, Journal of Politics, Political Behavior, Political Research Quarterly,
as well as public health journals such as American Journal of Public Health and Milbank
Quarterly. Some of my research focuses specifically on the quantitative analysis of
election law, such as the effect of same day voter registration and mail ballot laws on
voter turnout.

       10.     In this report, I use two methods to develop theory and empirical evidence
related to the broader political and policy contexts of SB 747, as well as to the question of
whether SB 747 would increase voting-related burdens for younger Americans. First, I
draw on the secondary literature in political science and adjacent social science


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disciplines, including my own research (e.g., Grumbach and Hill 2022). I both review
research findings and present specific results of quantitative analysis from the literature.
Second, I conduct my own quantitative analysis of public opinion by age group using
Cooperative Congressional Election Survey (CCES) and the General Social Survey
(GSS), which are commonly used in peer reviewed political science and other social
scientific research. I have conducted similar literature reviews and research throughout
my career.

       11.    In the last four years, I have testified by deposition in three cases, Aguilar
v. Yakima County (Superior Court of Washington), Contreras v. Illinois State Board of
Elections (United States District Court Northern District of Illinois), and LULAC v.
Abbott (United States District Court Western District of Texas). I have also provided an
expert report for Krabach v. King County (United States District Court Western District
of Washington).

     12.    I have attached my current CV as Exhibit A to this report. I am being
compensated at a rate of $350 per hour. My expert opinion is not dependent on any
payment.

III.   Political Attitudes across Generational Cohorts

        13.    In this section I analyze political attitudes across generational cohorts. This
analysis is important because polarization—a situation in which groups’ political
attitudes diverge—can generate incentives to exclude groups from the political process.

        14.    Conflict over democratic institutions stems, in part, from disagreements
about whose political participation should be encouraged or discouraged. Some may want
to discourage a group’s participation out of dislike or mistrust of that group, based on a
variety of social or cultural factors. Others may want to discourage a group’s
participation because they disagree with the group’s political values and preferences; they
worry that too much participation from the group would lead to the election of bad
politicians or the passing of bad policies. Either of these sentiments can provide a basis
for animus against a particular group, and commensurately a desire to restrict that group’s
political participation. Strong political disagreement—specifically, when groups’ values
or policy views are far apart from each other—is called polarization (McCarty 2019).

       15.    Generational polarization occurs when the political attitudes of
generational cohorts diverge. Today, generational polarization is substantial. Although
extensive survey data is not available far back in time, it is clear that age polarization has
grown over the past half-century (Munger 2022; Ghitza, Gelman, and Auerbach 2023).
As Fisher (2020, 38) summarizes, “[c]ontemporary American politics is marked by an
unusually substantial generation gap.”




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       16.     Different age groups have different political opinions for two reasons: life-
cycle effects and cohort effects. Under life-cycle effects, individuals’ political views are
shaped by the age they are currently, regardless of their generation. In other words,
younger and older people have different views because they face different life
circumstances. Whether you are from Gen Z or the Silent Generation, you are less likely
to own a home and have children when you are young; you are more likely to be retired
when you are older.

       17.     By contrast, cohort effects exist when, regardless of the age they are now,
different generational cohorts have systematically different political attitudes. This occurs
because different generations face different historical circumstances. Older members of
the Baby Boomer generation may have been drafted to serve in the Vietnam War; Gen X
came of age during the end of the Cold War; Gen Z is especially exposed to mass
shootings, and so forth. An additionally important reason for cohort effects is the fact that
Millennials and Gen Z are more racially diverse and more likely to be the children or
grandchildren of immigrants than members of Gen X, Baby Boomers, and the Silent
Generation. 1 Research on public opinion finds evidence of both life-cycle and cohort
effects (e.g., Munger and Plutzer 2023), but with a priority for cohort effects (Ghitza,
Gelman, and Auerbach 2023). The most comprehensive and rigorous analysis of this
question concludes that “the data strongly support generational voting” 2 (Ghitza, Gelman,
and Auerbach 2023, 536) due to the important role of formative political and life
experiences that “occur largely between the ages of 14 and 24” (Ghitza, Gelman, and
Auerbach 2023, 521).

       18.      Here I take a closer look at political attitudes and beliefs across age
generations. First, I look at political priorities, the particular issues and problems that
Americans believe are most important. There are large generational differences in
Americans’ political priorities. Figure 1 shows what Americans believe is the “most
important problem” facing their generation. 3 Baby Boomers and members of Gen X tend
to prioritize issues related to retirement such as Social Security. Millennial and Gen Z
Americans, by contrast, tend to focus most on climate change and student debt. Gen Z is
also the only generation to mention issues related to gun violence at a substantial rate.

                            (Rest of page intentionally left blank)




1
  Importantly, generations prior to the Silent Generation were also very likely to be in immigrant
families during the late 19th century and early 20th century.
2
  In this context, “generational voting” refers to Americans’ age generation as being strongly
predictive of their vote choice.
3
  The data comes from the Penn State McCourtney Institute for Democracy “Mood of the
Nation” Poll (for further details see Munger and Plutzer 2023).


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                Figure 1: Most Important Problem by Generation




                                                                                 6


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       19.    The generation gaps do not only exist in which issues Americans care most
about. They are also clear in terms of support for or opposition to major public policies
and moral principles. In Figures 2 and 3, I provide new statistical analysis using data
from the Cooperative Congressional Election Survey (CCES) and the General Social
Survey (GSS), prominent surveys with sample sizes that allow me to investigate attitudes
across generations.



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            Figure 2: Political Attitudes by Generation (CCES Survey)




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            Figure 3: Political Attitudes by Generation (GSS Survey)




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        20.    Figures 2 and 3 show very clear differences in key political attitudes across
generations. The key takeaway is that there are age gaps in opinions on important
political and policy questions are substantial and consistently evident. 4 It is worth noting
that some of the survey questions tap into more fundamental personal values, and others
on more specific public policy questions. In both contexts—whether it is a question about
whether the respondent would support their close relative marrying someone from a
different racial background, or questions about criminal justice or climate policy—the
generation gaps in attitudes are stark. The generation gaps in attitudes rival and often
surpass the differences in political attitudes that other research finds across racial groups
in the U.S. (e.g., Aneja, Grumbach, and Wood 2022, 596).

       21.    These differences in political attitudes persist despite variation in attitudes
between individuals within the same generation, and variation in the partisanship of
different generations across elections. For example, a considerable amount of reporting
has documented the shift of Gen Z (particularly Gen Z men) toward Donald Trump in the
2024 election, but this trend was negated by the fact that 1) Gen Z remained the most
Democratic generation in 2024 voting, and 2) even the Gen Z voters who supported
Donald Trump held distinct political attitudes compared to Trump voters from older
generations.

       22.    As I describe in more detail in Section V of this Report, the large
differences in opinion on major issues generated by generational polarization provide a
motive for political actors to attempt to reduce the political participation of younger
Americans.

IV.     Younger Americans Are Underrepresented in Politics

       23.     An important piece of context for understanding any legislation that affects
younger voters, such as SB747, is that younger Americans are starkly underrepresented in
U.S. politics. This is clearly apparent when it comes to descriptive representation, the
representation of age groups in elected office. Despite its relatively young population, the
U.S. has the oldest politicians of any global democracy (see Figure 4; for further details
see Bonica and Grumbach 2022). The descriptive representation of young people has
worsened in recent decades. In the 97th Congress (1981-1983), the average U.S. House
Representative was in his or her 40s and the average Senator in his or her early 50s; by
the 118th Congress (2023-2024), the average U.S. House Representative and Senator is
about 58 and 64 years old, respectively. State legislatures show only slightly better
representation for younger Americans; in the North Carolina General Assembly, only 16
percent of lawmakers were under the age of 43 as of 2023. 5 This weak and declining
4
 I have provided code and data files that can be used to reproduce Figures 2 and 3.
5
 Grace Vitaglione, NC politics still a tough play for millennials and Gen Z, CAROLINA PUBLIC
PRESS (Sept. 20, 2023), https://carolinapublicpress.org/61623/nc-politics-still-a-tough-play-for-
millennials-and-gen-z/.


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representation of younger Americans has occurred during a time when many other
historically underrepresented groups have increased their presence in U.S. elected offices.
The descriptive representation of women and racial/ethnic minorities has grown
dramatically in recent years (see, e.g., Dodson 2006), with record numbers of Asian,
Black, Latino, and female legislators in the 118th Congress and many state legislatures.

         Figure 4: Younger Americans Are Underrepresented in Elected Office 6




        24.    Younger Americans also lag in substantive representation. Whereas
descriptive representation captures whether the characteristics of elected leaders mirror
those of the public, substantive representation occurs when elected leaders act based on
the interests and preferences of their constituents.



6
  Note: Figure 1 is from Bui, Quoctrung, Chart of the Week, N.Y. TIMES (Jan. 11, 2024),
https://www.nytimes.com/live/2024/01/11/opinion/briefing#chart-of-the-week-americas-
political-gerontocracy. The figure is reformatted from Figure 1 from Bonica and Grumbach
(2023).


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        25.    The scholarly consensus is that descriptive and substantive representation
tend to go together (Burden 2007). When members of a particular group (such as a
protected class) in society are elected to office, they are more supportive of the group’s
political interests (Carnes 2012), more responsive to the policy goals of the group (Preuhs
2006), more likely to make legislative interventions at the request of members of that
group (Lowande, Ritchie, and Lauterbach 2019), and more likely to respond to
constituent correspondences from that group (Butler and Broockman 2011).

       26.     The underrepresentation of young people in elected offices leaves young
people, as a group, with few legislative defenders of their political attitudes and interests.
The descriptive underrepresentation of young people in American politics is one
explanation for why U.S. public spending is less generous toward young people than that
of other wealthy countries (Lynch 2006). This underrepresentation also leaves younger
Americans politically vulnerable when other political actors seek to exclude them from
the political process. Many are familiar with the classic adage related to descriptive
representation: “if you don’t have a seat at the table, you’re on the menu.” Younger
Americans have few seats at the table at the federal or state levels. This makes young
people especially vulnerable targets for policies that seek to reduce their political
participation.

       27.   As I will describe in greater detail throughout this Report, the political
(under)representation of younger Americans is, in part, related to election policy and
administration. When states implement policies that increase or decrease burdens related
to young people’s ability to register to vote, it affects the representation of younger
Americans in elected office and, ultimately, policy outcomes (Bertocchi et al. 2020).

V.      Motivations and Attempts to Reduce Youth Voting

       28.    American democracy has come under strain in recent years. 7 The early and
mid-20 century saw significant democratization in the U.S., including women’s
        th

enfranchisement and the end of Jim Crow voting laws and procedures. In more recent
decades, however, some state governments have taken steps to make it more challenging
to vote. Contemporary examples of state level legislation that makes voting more difficult
are not as undemocratic as those under Jim Crow—but they are of meaningful
consequence for the health of American democracy.

       29.    Why have some states attempted to make voting more challenging? An
important cause is demographic change, which has increased political conflict and
polarization over American democratic institutions. While many prominent voices have

7
 Democracy is a broad concept. In this report, I focus primarily on electoral democracy, a
subcomponent of democracy more generally. Additional subcomponents of democracy that I do
not focus on in this report might include deliberative democracy, liberal democracy, egalitarian
democracy, and participatory democracy (Lindberg et al. 2014).


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emphasized the roles of race and immigration in demographic change (e.g., Bartels
2020), recent threats to voting rights and democratic institutions in the U.S. are often
based, in large part, on demographic change related to age generations.

        30.     There are two clear reasons why some political actors would attempt to
reduce the voting participation of younger Americans. First, as I showed earlier, the
political attitudes and beliefs of Millennials (born 1981-1996) and especially Gen Z (born
1997-2012) are very distinct from those of Gen X (born 1965-1980), Baby Boomers
(born 1946-1964), and the Silent Generation (born 1928-1945). These age differences in
attitudes are not ephemeral; they are apparent on highly consequential questions of policy
and ideological beliefs, and they are persisting even as Gen Z and Millennials approach
middle age. Second, Millennials and Gen Z are large generations whose members are
increasingly eligible to vote. Millennials are the most populous generation in history, and
the youngest members of the similarly large Gen Z cohort will become eligible to vote as
they turn 18 years old in the year 2030.

        31.    These reasons provide a logical motive for attempting to reduce younger
Americans’ voter turnout. However, it is generally socially frowned upon to suggest
reducing the political participation of those you disagree with. Instead, a common public
justification for wanting to reduce the political participation of younger Americans is that
young people are not informed enough to vote.

       32.     Indeed, the argument that some citizens’ intellectual capacity is so low that
their participation would harm society has been central to historical opposition to
expanding the franchise first to White non-property-owning men, then to (White) women,
Native Americans, and Black Americans (Keyssar 2009). Yet while an informed
citizenry is important to democratic functioning, American democracy (like democracies
around the world) has thrived as it has expanded its electorate to groups that many at the
time considered to be less informed. Furthermore, there is little incentive to expend effort
informing yourself about politics if you are from a group that is disenfranchised, so
expanding access to political participation produces an incentive for people to become
informed. However, the most important set of reasons to reject the notion that only the
informed should vote are principles of citizenship and political equality (Dahl 2007). As
Hoschild (2010, 120) writes:

       Obtaining the right to participate in democratic governance is a sign of
       respect, dignity, autonomy, and control for individuals and perhaps for the
       group they represent; that is why so many people fought for so long to ensure
       that women and African Americans could not participate. [O]ther virtues of
       democratic expansion [include]: abstract justice, a desire to purify politics in
       moral or religious terms, fear of social unrest if dissatisfied people have no
       legitimate channel to express grievances, provision of an arena to develop



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        organizational capacities and promote civic virtue, and belief that each
        person is the best expositor of his or her own interests.

       33.     Despite these principles of republican democracy, demographic change has
led a number of political candidates and elites to argue that it would be good to reduce
the political participation of young American citizens. One speaker recently addressed a
major party’s national committee with the argument that it was too easy for young people
to vote. 8 Vivek Ramaswamy, a high profile presidential primary candidate, proposes to
increase the legal voting age to 25. 9

        34.    Opposition to younger Americans’ political participation is not confined to
political rhetoric. Recent legislation at the state level has sought to reduce voter turnout
among young people. A number of states with voter identification (ID) requirements do
not accept college identification cards as a valid form of voter ID, including Arizona,
North Dakota, South Carolina, Tennessee, and Texas (despite sometimes allowing for
alternative forms of identification that are more commonly held by older individuals). 10
Other states have current legislative proposals to restrict or ban the use of college
identification cards as valid voter ID, including Idaho, Kentucky, and New Hampshire; 11
North Carolina Senate Bill 824 ratified in 2018 created more restrictive requirements for
student identification cards to be used as valid voter ID. 12 A legislative proposal in Texas
in 2023 sought to ban polling places on college campuses. 13 Many states have also
opposed updating their existing election policies in ways that would increase the
participation of young people. It is important to note that many politicians in both major
U.S. political parties hope to—and have incentives to—keep youth turnout low, whether
in primary elections, general elections, or both. There is substantial generational
polarization within both political parties, with younger and older members of the same
8
   Josh Dawsey & Amy Gardner, Top GOP lawyer decries ease of campus voting in private pitch
to RNC, WASH. POST (April 20, 2023),
https://www.washingtonpost.com/nation/2023/04/20/cleta-mitchell-voting-college-students/.
9
   Meg Kinnard, Ramaswamy proposes raising voting age to 25, unless people serve in military
or pass a test, Associated Press (May 11, 2023), https://apnews.com/article/vivek-ramaswamy-
voting-age-2024-president-ea1429836e8f809fbf301b7b027f4ab9.
10
   Fair Elections Center’s Campus Vote Project, Student ID as Voter ID,
https://campusvoteproject.org/student-id-as-voter-id/.
11
    McKenna Horsley, College photo IDs would no longer suffice to vote in Kentucky under bill
moving in Senate, KY. LANTERN (Jan. 24, 2024),
https://kentuckylantern.com/2024/01/24/college-photo-ids-would-no-longer-suffice-to-vote-in-
kentucky-under-bill-moving-in-senate/.
12
    Jessica Sammons, Legis. Analysis Div., Senate Bill 824: Implementation of Voter ID Const.
Amendment (2018), https://dashboard.ncleg.gov/api/Services/BillSummary/2017/S824-SMBK-
172(e1)-v-2.
13
    Hope Merritt, Texas lawmaker proposes bill to prohibit polling places at colleges, KBTX3
(Feb. 17, 2023), https://www.kbtx.com/2023/02/18/texas-lawmaker-proposes-bill-prohibit-
polling-places-colleges/.


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party holding distinct policy attitudes and voting for different candidates in recent
primary elections.

        35.    Thus, there is a motive for some political actors to reduce youth voting. But
is there the capability and opportunity to do so? When it comes to young voters, the
answer is very much “yes.” Among large demographic groups, young people are
especially vulnerable to increased burdens on voting. Indeed, differences in election and
voting systems are a main reason why the age gap in voter turnout is much starker in the
United States than in other democracies around the world (e.g., Angelucci, Carrieri, and
Improta 2024).

        36.    Both in North Carolina and across the country, young people have
significantly higher rates of residential mobility than older people (Grumbach and Hill
2022). Moving residences creates new obstacles to casting a ballot, including re-
registering to vote and learning new norms and procedures of voting under a new
electoral precinct assignment. These new obstacles are often directly related to
disruptions and delays to physical mail.

       37.     In the next sections of this Report, I provide more detailed analysis the
roles of residential mobility and physical mail as obstacles especially for younger
Americans’ electoral participation, the role of same-day registration policies in youth
turnout, and the importance of voting habits established early in one’s adult life.

VI. Age, Residential Mobility, and Voting

        38.     So far, I have presented my expert opinion that generational polarization in
political attitudes provides some politicians an interest in reducing the political
participation of younger Americans, who are already starkly underrepresented in politics.
In this section, I highlight how residential mobility and physical mail represent important
barriers to youth voting. Across the country, people who move to new residential
addresses must re-register to vote. This affects an especially large number of people who
change residences in states that lack automatic voter registration policies. Indeed,
political science research has long understood that “the requirement that citizens must
register anew after each change in residence constitutes the key stumbling block in the
trip to the polls” (Squire, Wolfinger, and Glass 1987, 45), and that this “stumbling block”
is more likely affect younger individuals (Ansolabehere, Hersh, and Shepsle 2012).

        39.    In addition to the “stumbling block” of registration, moving residences
often entails changes to voting procedures, including unfamiliar in-person electoral
precinct assignments and distinct rules and informal norms related to the practices of poll
workers and county election administrators, which also create obstacles to casting a
ballot.




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        40.    Physical mail is often a mechanism by which residential mobility-related
challenges to registering and voting manifest. Stated another way, moving residences
reduces voter turnout in large part because it creates important disruptions and delays to
one’s ability to receive and read physical mail. Contact by candidate campaigns,
including in-person canvassing and direct mail, increases voter engagement and turnout
(e.g., Gerber and Green 2000). Campaigns target potential voters to persuade and/or
encourage to vote using registrants’ addresses found in publicly available and
commercial “voter files.” Young people, due to their residential mobility, are less likely
to receive this kind of campaign contact. Indeed, one important study finds that many get-
out-the-vote campaigns tend to target high-propensity voters, such as older people, which
ends up increasing turnout among these already well-represented groups rather than
underrepresented groups like young people (Enos, Fowler, and Vavreck 2014).

       41.    Even after settling into a new residence, young people are
disproportionately likely to face mail-related complications. Apartment complexes have
various forms of mailrooms and sets of mailboxes that tend to involve more confusion
and human error than a mail slot or mailbox at a single-family residence. College
students often receive mail through a centralized campus mail office that may create
delays due to the necessity of sorting mail for thousands of students upon receipt from the
U.S. Postal Service and other parcel carriers. Consistent with younger Americans facing
greater mail-related complications, survey-based studies that recruit subjects by physical
mail or e-mail find that college students are the only group for which e-mail invitations
are responded to at similar rates as physical mail (Shih and Fan 2009). 14 An analysis of
North Carolina college students who lost their right vote since 2008 highlights the
importance of these and other mail-related barriers, many of which were further
exacerbated by the COVID-19 pandemic (Peck et al. 2021).



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14
  From the perspective of researchers, this means that younger Americans are the only group
that can be reached just as effectively with a costless e-mail as with costly physical mail. The
Shih and Fan (2009) study is also now 15 years old; these findings about the relative
ineffectiveness of physical mail at reaching younger Americans are likely to be stronger now
given the growth of young people’s use of technology.


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       Figure 5: Relationship between Age, Residential Mobility, and Turnout from
                     Grumbach and Hill (2022, Appendix p. 28)




        42.   I provide some statistical analysis showing how young people are more
residentially mobile, and that this residential mobility reduces turnout, in Figure 5. As
shown in Panel (a) of Figure 5, young people are much more likely to move residences,
and move residences much more frequently, than older people. As documented in
demography research (e.g., Speare 1970; Coulter and Scott 2015), this is largely a life-
cycle effect based in common circumstances facing young people, including residence in
rental housing, new jobs, enrollment in school, and changing romantic relationships.
Owning a home, which is the greatest predictor of remaining in a residence due to the
high transaction costs of selling a home, is highly correlated with age.

      43.    Using Census Current Population Survey data, Figure 6 shows that older
people have long been about twice as likely to own a home as people under 35.



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                           Figure 6: Homeownership by Age




        44.    With the knowledge that younger people make up the bulk of residential
movers, Figure 5 Panel (b) shows the powerful relationship between changing residences
and turning out to vote. The results from the two statistical models suggest that moving in
the past year reduces one’s likelihood of voting by between 14 and 24 percentage-points,
a staggering amount. Overall, residential mobility is a main obstacle to voting for
Americans of all ages, but young people are most likely to face this obstacle due to their
life circumstances. In the next section, I explain how same day voter registration policies
assist Americans, especially young people, in overcoming barriers to voting.

VII. Same Day Registration and Youth Turnout

       45.    As the last section describes, residential mobility is a major barrier to
voting, and younger people are much more mobile. Same day voter registration
policies—whose history stretches back to the early 1970s in states like Maine, Minnesota,
and Wisconsin—offer an important solution. By reducing barriers related to residential
mobility and other factors, same day registration increases voter turnout, especially
among younger people. This is not a trivial point. This increased turnout matters for
substantive representation: making voter registration more convenient for younger
Americans brings U.S. public policy more in line with the preferences of younger
Americans (Bertocchi et al. 2020).

        46.    Grumbach and Hill (2022) use a “difference-in-differences design” to
estimate the causal effect of same day registration on voter turnout by age group. These
results are shown in Figure 7 using alternative statistical model specifications. In most of
the models, same day registration increases turnout across most or all age groups. But in



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all of the models, same day registration increases turnout significantly, consistently, and
most of all for younger people.

     Figure 7: Effect of Same Day Registration on Turnout by Age Group from
                          Grumbach and Hill (2022, p. 412)




        47.    Grumbach and Hill (2022) include North Carolina as a same day
registration state in the analyses. However, it is important to note once again that North
Carolina is the only same day registration state that does not allow for same day
registration on Election Day, only allowing it during the early voting period.

        48.    North Carolina’s same day registration system is therefore already
restrictive compared to those of other states. The same day registration physical mail
verification provision in SB747 further narrows the state’s same day registration system.
This provision requires that the local county board of elections sends mail verification
within two business days after a same-day registration ballot is cast, and if the piece of
mail is returned as undeliverable before the close of business on the business day before
canvass, the ballot is retrieved and removed from the final count.



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       49.    It is critical to note that, despite same day registration having a clear effect
on turnout, a change in election administration can still problematically increase barriers
to voting even if it does not have an effect on voter turnout. Zhang (2022) calls this the
distinction between “vote suppression,” where overall turnout is causally affected, and
“voter suppression,” where voting becomes more burdensome but citizens may or may
not overcome these burdens to cast their ballot.

         50.   For example, we would find it undesirable if a new policy forced us to
stand in long lines in order to pay our monthly electricity bills (while, perhaps, others
were able to pay their bills in much more accessible ways)—but many of us would still
wait out the line to ensure our bill is paid on time. Still more of us would wait out the line
if “bill payers’ rights organizations” mobilized us with information and advocacy about
paying our bills. One might argue that the new “electricity bill line policy” was
unproblematic because nearly everyone who wanted to pay their electricity bill
successfully did so, but it is fair to call such a position quite strange. Similarly, when it
comes to voting, erecting new barriers is problematic for republican democracy even
when the barriers fail to cause substantial reductions in turnout. The creation of new
barriers related to same day registration, importantly, is problematic on its own and is
likely to reduce turnout especially among younger Americans.

        51.    Perhaps the most common justification for increasing barriers to
registration or voting is to prevent voter fraud. Here it is worth noting that elections in the
U.S., including in states that offer same day voter registration, are highly secure. The
evidence is consistent and clear: voter fraud in elections in the U.S., which are
administered by state and county governments, is exceedingly rare (Wu et al. 2020;
Eggers, Garro, and Grimmer 2021). Voter fraud is a felony that carries severe criminal
penalties under North Carolina state law. The physical mail verification provision of
SB747 would increase a barrier to voting, especially for young people, without a clear
corresponding improvement in election security. In the next section, I describe how
creating new burdens on voting in early adulthood may have lasting ramifications by
disrupting the development of voting as a habit.

VIII. Disrupting Voting Habit Formation

       52.    Political scientists have long understood voting as habitual: voting in a past
election increases one’s likelihood of voting in subsequent elections (e.g., Brody and
Sniderman 1977; Dinas 2012). Encouraging someone to vote who otherwise would not
have turned out substantially increases the chances that they vote in future elections,
especially earlier in the life cycle (Gerber, Green, and Shachar 2003; Coppock and Green
2016). Conversely, discouraging someone from voting by, for example, increasing the
burdens of registering or casting a ballot, has similarly lasting effects. Habituation is an
important mechanism behind voter turnout in countries across the world (Schäfer,



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Roßteutscher, and Abendschön 2020), but it takes on greater importance in the United
States because of its unique system of voter registration (Bryant et al. 2022).

        53.     One of the most rigorous recent analyses of the habit of voting comes from
Coppock and Green (2016). The authors leverage randomized get-out-the-vote (GOTV)
experiments and regression discontinuities of age eligibility to isolate the effect of voting
in a given election on future elections. Importantly, this study is able to isolate
individuals who, absent something like the push of a GOTV effort, would not have voted
in the initial election. This ensures that the analysis, in turn, isolates the causal effect of
voting in a previous election on voting in a subsequent election. The analyses estimate a
causal effect of voting in a past election, independent of all other reasons why someone
might vote (such as interest in politics, demographic factors, etc.)—and find large effects
on voting in downstream elections, nearly 10 percentage-points in the main estimates.

       54.     The power of habitual behavior in voting should not be understated. As
Aldrich, Montgomery, and Wood (2010, 536) write, “[s]ome people decide to
turnout…as the result of deliberation or conscious weighing of relevant factors. Other
citizens determine whether to vote as the result of what is understood theoretically in
social psychology as habituated responses.” When voting is not (yet) habitual, it often
requires a confluence of favorable conditions—and potentially external pressure, such as
from family members or get-out-the-vote organizations—for an individual to vote. By
contrast, when voting is a habit, an individual votes in each election as a routine; such an
individual is likely to see his or her practice of voting as a natural part of living in his or
her community or of being an American citizen.

        55.    When an individual’s intention to vote is obstructed by changes to
administrative requirements (related to, e.g., voter registration or voting by mail), his or
her habit of voting is also obstructed. More specifically, political science research shows
that when an individual’s ballot is rejected due to administrative procedure, he or she is
less likely to vote in subsequent elections (Miller et al. 2024). The most likely causal
mechanism here is that individuals whose ballots are rejected experience “alienation from
the political process” (Miller et al. 2024, 28).

       56.     Taken as a whole, political science literature suggests that creating new
barriers, even minor ones, can have lasting consequences for those who have not yet
developed voting as a habit. Younger Americans, inherently due to the recency of their
aging into eligibility to vote, have not yet developed voting as a habit.

IX. Conclusions

        57.     Young people are already deeply underrepresented in American politics. In
this report, I provide evidence that generational polarization provides a motive, and
young people’s life circumstances provide an opportunity, for political actors to use


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public policy to further reduce the political participation and representation of younger
Americans. Because voting is habitual, these efforts to reduce young people’s
participation have lasting ramifications.

        58.    Young people are disproportionately likely to face barriers to voting related
to residential mobility, including issues related to physical mail. Same day voter
registration serves as important way for Americans, especially younger Americans, to
overcome common barriers to voting. Creating additional requirements to use the same
day registration system presents a risk for young people’s participation. This risk is
greater given that SB747 would add additional requirements involving physical mail
within a relatively short time frame.

       59.     The questions discussed in this report are central to contemporary issues in
the American political system. Generational polarization, combined with the stark
underrepresentation of younger Americans in elected office—which stems from the
already disproportionate challenges that younger citizens face in registering and casting
ballots—provides some political actors the motive and capacity to make voting more
burdensome for younger Americans. Additional barriers to voting are problematic even in
cases where Americans overcome all obstacles in the way of casting their ballots (Zhang
2022), but in this case, making same day registration more restrictive is likely to reduce
turnout among some North Carolinians, especially younger residents. This discouraging
effect may not only exist in the short term, but also in the long term as it disrupts habit
formation for younger voters.

       60.    To the best of my knowledge, the foregoing report includes all of the
opinions I have formed to date that, if called upon to testify, I would provide in this
matter. I have also included in the text, footnotes, and appendix all of the bases and
reasons for these opinions, as well as all of the data, facts, assumptions, and authorities
considered in forming them.

                                       *      *      *

        The conclusions in this Report are based upon the facts and information available
to me as of the time of its drafting. I reserve the right to amend and supplement the
opinions expressed in this Report in light of additional facts or information brought to my
attention concerning this matter.

       Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the
foregoing Declaration is true and correct in substance and in fact to the best of my
knowledge and belief.

Executed on: March 5, 2025                                _____________________
                                                          Jacob M. Grumbach, Ph.D.


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             Appendix B: Additional Materials Reviewed or Considered

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                              EXHIBIT A




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                                                                              Curriculum Vitae updated February 2025
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Research         American Politics, Political Economy, Methods (Statistics), Public Policy, Race and Inequality,
Interests        Labor, Federalism



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                   tive; Political Economy Designated Emphasis

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                   Associate Professor, Department of Political Science (2022-2023)

                   Assistant Professor, Department of Political Science (2019--2022)

                 Princeton University

                   Postdoctoral Fellow, Center for the Study of Democratic Politics (2018--2019)



Education        University of California, Berkeley

                   Ph.D., Political Science (2012--2018)

                   M.A., Political Science

                   Dissertation:Polarized Federalism: Activists, Voters, and the Resurgence of State Policy in the
                   U.S., winner of the 2019 E.E. Schattschneider Award and the 2019 William Anderson Award
                   Committee: Paul Pierson and Eric Schickler (co-chairs), Sarah Anzia, Sean Gailmard,
                   Amy Lerman

                   Fields: American Politics, Methods, Public Policy and Organization

                 Columbia University

                   B.A.,Political Science and History, (2006--2010)
                   Honors: cum laude, Departmental Honors in Political Science



Book             Laboratories Against Democracy: How National Parties Transformed State Politics
                   Princeton University Press, 2022

                   Selected for   The New Yorker 's ``Best Books of 2022''
                   Winner of the 2023 Merze Tate - Elinor Ostrom Outstanding Book Award (formally known as
                   the APSA Best Book Award)

                   Winner of the 2023 Virginia Gray Award for best political science book on the subject of U.S.
                   state politics or policy

                   Reviewed in Boston Review ; Democracy Journal ; Political Science Quarterly ; Publius: The
                   Journal of Federalism ; Foreign Affairs ; The New Republic ; Jacobin

Peer Reviewed    Terri Adams-Fuller, John Ahlquist, Jacob M. Grumbach, and Tess Starman.               ``Mobilizing
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                  Grumbach, Jacob M. 2015. ``Polluting Industries as Climate Protagonists: Cap and Trade and
                  the Problem of Business Preferences.''     Business \& Politics 17(4): 633--659.
                  Grumbach, Jacob M. 2015.             ``Does the American Dream Matter for Members of Congress?
                  Social-Class Backgrounds and Roll-Call Votes.''     Political Research Quarterly 68(2): 306--323.
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                  Excellence in School Drinking Water Access.''      American Journal of Public Health 104(7): 1314--
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                  ing Water Access in School Food Service Areas Before Implementation of Federal and State School
                  Water Policy, California, 2011.''    Preventing Chronic Disease 9.

Editor Reviewed   Ahlquist, John S., Jacob M. Grumbach, and Thomas Kochan. 2024. ``The Rise of the `Union
Publications      Curious': Support for Unionization among America?s Frontline Workers.''            Report for the Eco-
                  nomic Policy Institute.


                  Grumbach, Jacob M. and Charlotte Hill.             2024.   ``Which States Adopt Election-Subversion
                  Policies?''   ANNALS of the American Academy of Political and Social Science 708(1): 243--256.
                  Dean, Adam, Jamie McCollum, and Jacob M. Grumbach.                     2023.   ``Labor Unions and the
                  Defense of American Democracy: The Fight over Ballot Drop Boxes during the 2022 Midterm
                  Elections.'' Report for the Economic Policy Institute.


                  Grumbach, Jacob M. 2023. ``Protecting Democracy from State Level Threats in the Age of
                  National Parties'' in the APSA Presidential Task Force on Report on Political Parties,      More Than
                  Red and Blue: Political Parties and American Democracy.
                  Bateman, David A., Jacob M. Grumbach, and Chloe Thurston. 2022. ``Race and Historical
                  Political Economy'' in   The Oxford Handbook of Historical Political Economy. Jenkins, Jeffery A.
                  and Jared Rubin, Eds.


                  Aneja, Abhay, Jacob M. Grumbach, and Abby K. Wood.                   ``Financial Inclusion in Politics.''
                  2022.   NYU Law Review 97(2): 566--630.
                  Grumbach, Jacob M. ``The Supreme Court Just Rolled Democracy Back. You Can Measure
                  How Much.'' 2022.     Politico, June 30.
                  Grumbach, Jacob M. and Christopher Warshaw. ``Many States with Antiabortion Laws Have
                  Pro-Choice Majorities.'' 2022.      Washington Post MonkeyCage, June 25.
                  Grumbach, Jacob M. and Jamila Michener. ``American Federalism, Political Inequality, and
                  Democratic Erosion.'' 2022.    ANNALS of the American Academy of Political and Social Science
                  699(1): 143--155.


                  Collier, Ruth Berins, and Jacob M. Grumbach. ``The Deep Structure of Democratic Crisis.''
                  2022.   Boston Review, January 6.
                  Frymer, Paul, Thomas Ogorzalek, and Jacob M. Grumbach. 2022. ``Unions Can Help White




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                 Workers Become More Racially Tolerant'' in      The Cambridge Handbook of Labor and Democracy.
                 Cornell, Angela and Mark Barenberg, Eds.


                 Grumbach, Jacob M., Jacob S. Hacker, and Paul Pierson. 2021. ``The Political Economies of
                 Red States'' in   American Political Economy: Politics, Markets, and Power. Hacker, Jacob S.,
                 Alexander Hertel-Fernandez, Paul Pierson, and Kathleen Thelen, Eds.


                 Grumbach, Jacob M. and Eric Schickler.            2021. ``In Civil Rights and American Democracy,
                 Congress's Role Looms Large.''     The Hill, August 30.
                 Hill, Charlotte and Jacob M. Grumbach. 2020. ``6 Ways Mail-in Ballots are Protected from
                 Fraud.''   The Conversation, September 17.
                 Frymer, Paul and Jacob M. Grumbach. 2020. ``The NBA Strike is a Big Moment for Athlete
                 Activism---and the Labor Movement in America.''        Vox, September 4.
                 Hill, Charlotte, Jacob M. Grumbach, Adam Bonica, and Hakeem Jefferson. 2020. ``We Should
                 Never Have to Vote in Person Again.''     New York Times, May 4.
                 Grumbach, Jacob M. ``Billionaires, Organizations, and Federalism: Developments in the Study
                 of American Inequality.'' 2019.    Journal of Politics, 81(4): 73--79.
                 Hill, Charlotte and Jacob M. Grumbach.             2019.   ``An Excitingly Simple Solution to Youth
                 Turnout, for the Primaries and Beyond.''     New York Times, June 26.

Working Papers   ``Old Money:    Campaign Finance and Gerontocracy in the United States'' with Adam Bonica
                 (Revise \& Resubmit at   Journal of Public Economics )
                 ``The Insulation of Local Governance from Black Electoral Power: Northern Cities and the Great
                 Migration'' with Robert Mickey and Daniel Ziblatt


                 ``Intersectional or Inseparable?    Connecting Theory to Estimands in Studies of Identity'' with
                 Aaron R. Kaufman and Chris Celaya


                 ``Are Large Corporations Politically Moderate? Using Money in Politics to Infer the Preferences
                 of Business'' with Paul Pierson


                 ``When Governments Learn from Copartisans:          Partisan Policy Diffusion,'' winner of the 2019
                 APSA Award for Best Paper in Public Policy


                 ``Can Segregated Schools Make Equal Citizens? Southern Education and Black Political Power,
                 1918-1972'' with Omar Wasow


                 ``Testing City Limits: The Rise of Healthy San Francisco''



Awards and       APSA State Politics \& Policy Emerging Scholar Award, 2023
Fellowships
                 APSA Political Organizations and Parties Emerging Scholar Award, 2021


                 Center for Congressional and Presidential Studies Award for Best Paper Presented at the New
                 Perspectives in Legislative Studies Conference, ``Laboratories of Democratic Backsliding,'' 2021


                 Honorable Mention for American Sociology Association Distinguished Contribution to Scholarship
                 in Population Award, 2021


                 APSA Award for Best Paper in Race and Ethnic Politics (with Alexander Sahn and Sarah
                 Staszak), ``Race, Gender, and Intersectionality in Campaign Finance,'' 2020


                 Bridges Center for Labor Studies Course Development Grant, 2020




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                   APSA Award for Best Paper in Public Policy, ``When Governments only Learn From Co-partisans:
                   Partisan Policy Diffusion,'' 2019


                   E.E. Schattschneider Award for Best Dissertation in American Politics, 2019


                   William Anderson Award for Best Dissertation in Federalism, Intergovernmental Relations, or
                   State and Local Politics, 2019


                   Ford Foundation Dissertation Fellowship, 2017--2018


                   APSA Class and Inequality Section Graduate Student Award, 2016


                   Mike Synar Graduate Research Fellowship, 2015--2016


                   Outstanding Graduate Student Instructor, 2015--2016


                   Eugene Cota-Robles Fellowship, 2012--2013



Research Grants    ``Authoritarian Policing and America?s Incomplete Democratization'' with Rob Mickey and Dan
                   Ziblatt. Russell Sage Foundation (\$150,000), 2022.


                   ``Campaign Finance and Representation.''         University of Washington Royalty Research Fund
                   (\$32,926), 2022.




Teaching           POL284: Introduction to Labor Studies, University of Washington


                   POL382: State and Local Politics, University of Washington


                   POL555: State and Local Politics (Graduate), University of Washington


                   POL501: Quantitative Methods for the Social Sciences I (Graduate), University of Washington


                   POL503: Quantitative Methods for the Social Sciences II (Graduate), University of Washington


                   PS1AC: Race, Inequality, and American Politics, UC Berkeley
                    \bullet  Teaching Instructor, American Cultures (AC) Teaching Workshop

                   HIST102: U.S. History 1865-Present, Prison University Project at San Quentin State Correctional
                   Facility (Patten University)



External Service   Editorial Board;    Journal of Politics, 2021-
                   Academic Advisory Board; Economic Policy Institute, 2023-


                   Committee on the Status of Blacks in the Profession, 2022-2025


                   William Anderson Award Committee, APSA, 2024


                   Emerging Scholar Award Committee, APSA American Political Economy Section, 2024


                   Advisory Board; Washington Institute for the Study of Inequality \& Race, 2020-2022


                   Dissertation Award Committee, APSA American Political Economy Section, 2023


                   Nominations Committee, APSA REP Section, 2021-2022


                   Emerging Scholar Award Committee, APSA Political Organizations \& Parties Section, 2022


                   Outreach Coordinator, APSA Class \& Inequality Section, 2020-




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                 Best Paper Award Committee, APSA Federalism Section, 2021


                 Graduate Student Poster Award Committee; APSA Class \& Inequality Section, 2019


                 Bay Area Graduate Student Fellow; Scholars Strategy Network, 2014--2015


                 Coordinator, Colloquium on the Study of Race, Ethnicity, and Immigration; Institute of Govern-
                 mental Studies, UC Berkeley, 2013--2015


                 Coordinator, Research Workshop in American Politics; Institute of Governmental Studies, UC
                 Berkeley, 2015--2016



Referee          American Journal of Political Science ; American Political Science Review ; American Politics
                 Research ; Business \& Politics ; Democratization ; Demography ; Educational Researcher ; Election
                 Law Journal ; Governance ; Health Affairs, Health and Place ; Interest Groups \& Advocacy ; Jour-
                 nal of Elections, Public Opinion \& Parties ; Journal of Ethnic and Migration Studies ; Journal
                 of Health, Politics, Policy and Law ; Journal of Law, Economics, and Organization ; Journal
                 of Politics ; Journal of Public Policy ; Journal of Race, Ethnicity, and Politics ; Labor Studies
                 Journal ; Legislative Studies Quarterly ; Milbank Quarterly ; Political Research Quarterly ; Political
                 Psychology ; Political Science Quarterly ; Politics \& Society ; Politics, Groups, and Identities ; PS:
                 Political Science \& Politics ; Proceedings of the National Academy of Sciences ; Public Policy and
                 Administration ; Publius: The Journal of Federalism ; Quarterly Journal of Economics ; Research
                 \& Politics ; State Politics \& Policy Quarterly ; Studies in American Political Development

Conference       American Political Science Association (2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022,
Presentations    2023, 2024)


                 Midwest Political Science Association (2015, 2016, 2017, 2018, 2019)


                 Western Political Science Association (2019, 2022)



Invited Talks    2025: Guinier Project Roundtable; Notre Dame Rooney Center Seminar


                 2024: Brown Watson Institute Distinguished Lecture Series; Columbia Labor and Democracy
                 Conference; Harvard Law School Law \& Policy Seminar; NBER Race and Stratification Confer-
                 ence; Occidental College Political Science; Princeton `Frontsliding' Conference; Tulane Murphy
                 Seminar in Political Science; UC Berkeley Research Workshop in American Politics; UC Berke-
                 ley School of Law Democracy and Rule of Law Series; UC Berkeley Winter American Politics
                 Meeting; University of Colorado at Denver; UW Public Lecture Series


                 2023: Copenhagen Business School Political Economy Seminar; Northwestern University Com-
                 parative Historical Social Sciences Colloquium; Stanford Electoral Reform Task Force; UC Berke-
                 ley GSPP Seminar; UC Berkeley Institute for Research on Labor and Employment (IRLE); UCLA
                 Law School Protecting Democracy Series; University of Portland Mazzocco Lecture


                 2022:   Harvard Law School Democracy Series; University of Pennsylvania American Politics
                 Workshop; James Madison University Symposium on Teaching and Learning Racial Justice;
                 Nuffield Politics Seminar at Oxford University; NYU American Politics Workshop; Boston Uni-
                 versity Political Science Speaker Series; Princeton Economics Future of the Labor Movement
                 Meeting; Stanford Center on Democracy, Development and the Rule of Law; UC Berkeley Re-
                 search Workshop in American Politics; University of Houston Hobby School of Public Affairs
                 Speaker Series; UW Public Lecture Series; Western Washington University Sandison Memorial
                 Lecture; Yale American Politics and Policy Workshop; Yale Department of African American
                 Studies Endeavors Colloquium


                 2021: Cornell PSAC; Harvard American Politics Workshop; University of Michigan Weiser Center
                 for Emerging Democracies; USC Political Institutions \& Political Economy Symposium; Vander-




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                 bilt American Politics Workshop; UCSD Political Economy Research Seminar; UCLA Race \&
                 Ethnic Politics Seminar; UW Public Lecture Series


                 2020: Columbia University American Politics Speaker Series; Cornell University American Democ-
                 racy Collaborative; Duke Race \& Ethnic Politics Series; Johns Hopkins University Political Science
                 Seminar; UW Center for the Study of Demography \& Ecology; Michigan State Minority Politics
                 Online Seminar Series; American University Political Science Research Seminar; University of
                 Oregon Political Science Research Colloquium; UW Evans School of Public Policy; UW Wash-
                 ington Institute for the Study of Inequality \& Race; University of Minnesota American Politics
                 Colloquium; Vote.org Speaker Series; Yale American Politics and Policy Workshop


                 2019: National Institute on Money in Politics (Montana); Scholars Strategy Network Leadership
                 Convening (Washington, D.C.)


                 2018:   Oxford University Winant Symposium; UC Berkeley Law and New Political Economy
                 Conference; UC Irvine Money and Politics Conference



Advising         Aaron Baker (Honors Thesis), Joe Calodich (Honors Thesis), Meagan Carmack (MA), Crystal
                 Correa (Honors Thesis), Adelle Engmann (Honors Thesis), Megan Erickson (MA), Rachel Funk
                 Fordham (PhD), Jintong Han (PhD), Steven Karceski (PhD Sociology), Sebastian Mayer (PhD),
                 Becca Peach (MA), Morgan Wack (PhD), Hanjie Wang (PhD), Nicolas Wittstock (PhD)



Selected         Thomas Mann, Norman Ornstein, and E.J. Dionne (2017)
Research
Assistance       Margaret Boittin (2016--2017)


                 Prison University Project (PI: Amy Lerman and Jody Lewen, 2016)


                 Vesla Weaver and Amy Lerman (2015)



Additional       Languages: English, Spanish
Information      Statistical and Programming Languages:    R, STATA, LATEX, some Python




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